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                            UNITED STATES DISTRICT Court
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

   UNITED STATES OF AMERICA,                  :
                                              :
           Plaintiff,                         :
                                              :
   v.                                         :     Case No. 8:05-Cr-530-T-30EAJ
                                              :
   YASMANY SAME,                              :
                                              :
           Defendant.                         :
                                              :

                         FINAL ORDER OF FORFEITURE AS TO
                        1514/1516 S. HABANA AVENUE, TAMPA

        THIS CAUSE comes before the court upon the filing of a Motion (Dkt. #663) by the

United States of America for a Final Order of Forfeiture for the following property:

        Real property located at 1514/1516 S. Habana Avenue, Tampa, Florida
        33629, including all improvements thereon and appurtenances thereto, the
        legal description for which is as follows:

        THE SOUTH 56 FEET OF THE WEST ½ OF LOT 1, BLOCK 5, REVISED
        MAP OF HOLDEN’S SUBDIVISION, ACCORDING TO THE MAP OR PLAT
        THEREOF AS RECORDED IN PLAT BOOK 2 ON PAGE 19 OF THE
        PUBLIC RECORDS OF HILLSBOROUGH COUNTY, FLORIDA. TAX FOLIO
        #:117456-0000.

        Parcel Identification Number: A2729183OY00000500001.2.

        Accordingly, for good cause shown, it is hereby ORDERED, ADJUDGED AND

DECREED that the Motion (Dkt. #663) of the United States is GRANTED.

        It is further ORDERED that the above-referenced property is hereby forfeited to the

United States of America pursuant to the provisions of 21 U.S.C. § 853.

        It is further ORDERED that the United States Marshals Service be and is hereby

given full possession and control of the property for disposition pursuant to law.
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       It is further ORDERED that all any and all outstanding taxes and interest due and

owing the Hillsborough County Tax Collector, through the date of the Final Order of

Forfeiture, be paid at the time of sale.

       It is further ORDERED, absent an agreement, the United States, solely from the

proceeds of the sale of the property, to the extent that there are sufficient proceeds, after

the deduction of government’s expenses relating to the seizure, maintenance, custody,

publication, marketing, and sale of the property, including any and all outstanding taxes and

interest due and owing the Hillsborough County Tax Collector, pay to U.S. Bank National

Association as Trustee for Credit Suisse First Boston Heat 2004-8 as Trustee of Mortgage

Electronic Registration Systems, Inc., (hereinafter “U.S. Bank”) the following:

       a. all reasonable unpaid financed principal charges due to the Claimant
       under the Mortgage in the amount of $137,032.83, recorded on October 19,
       2004, in official records Book 14327 Pages 103 - 125, in Hillsborough
       County, Florida, which instrument secured repayment of the funds due with
       respect to the subject property;

       b. all reasonable unpaid interest, at the contractual rate, in the amount of
       $25,632.68 as of September 24, 2007, with a daily per diem rate of $30.58
       until date of payment; and

       c. real property taxes paid by the lienholder (not escrowed) in the total
       amount of $17,104.13. This amount is arrived at by the following: 2004 taxes
       in the amount of $3,430.18 ($6,019.50 taxes paid less interest
       penalties/fees in the amount of $726.71 and less the amount collected at
       closing on 8/23/04 in the amount of $1,862.61); 2005 taxes in the amount
       of $6,200.51 ($7,055.54 taxes paid less interest penalties/fees in the
       amount of $855.03); and 2006 taxes owed in the amount of $7,473.44
       ($7,812.49 taxes paid less interest penalties/fees in the amount of
       $339.05).

       d. hazard insurance for 2005 (8/05 to 8/06) 2006 (8/06 to 8/07) and 2007
       (8/07 to 8/08) paid by the lienholder (not escrowed) in the total amount of
       $5,034.14 (2005 premium in the amount of $1,653.00, 2006 premium in the
       amount of $1,637.50, and 2007 premium in the amount of $1,743.64). If the


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         United States Marshals Service sells the property prior to the insurance
         expiration, the amount paid will be reduced accordingly.

No other costs or expenses incurred by U.S. Bank will be paid by the United States.

         DONE and ORDERED in Tampa, Florida on January 24, 2008.




Copies to:
Adelaide G. Few, AUSA
Counsel of Record


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